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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION

UNITED STATES OF AMERICA

V. CASE NO. 8:24 0% SF VINC — &
18 U.S.C. § 922(g)(1)
ZACHARY RUGEN
INDICTMENT
The Grand Jury charges:
COUNT ONE

(Possession of a Firearm or Ammunition by a Convicted Felon)
On or about May 11, 2023, in the Middle District of Florida, the defendant,
ZACHARY RUGEN,

knowing that he had previously been convicted in any court of a crime punishable by
imprisonment for a term exceeding one year, that is, Leaving the Scene of an
Accident, on or about May 13, 2013, did knowingly possess, in and affecting
interstate commerce, a firearm and ammunition, that is, a Walther model PPS semi-
automatic pistol, and Browning ammunition, Federal ammunition, Speer
ammunition, Fiocchi Munizioni ammunition, and Companhia Brasileira de
Cartuchos S.A. ammunition.

In violation of 18 U.S.C. §§ 922(g)(1) and 924(a)(8).
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FORFEITURES

1. The allegations contained in Count One of this Indictment are hereby
realleged and incorporated by reference for the purpose of alleging forfeitures
pursuant to the provisions of 18 U.S.C. § 924(d), and 28 U.S.C. § 2461(c).

2. Upon conviction of a violation of 18 U.S.C. § 922(g), the defendant
shall forfeit to the United States, pursuant to 18 U.S.C. § 924(d) and 28 U.S.C. §
2461(c), all firearms and ammunition involved in or used in the violation.

3. The property to be forfeited includes, but is not limited to, the
following: Walther model PPS semi-automatic pistol, and Browning ammunition,
Federal ammunition, Speer ammunition, Fiocchi Munizioni ammunition, and

Companhia Brasileira de Cartuchos S.A. ammunition.

4. If any of the property described above, as a result of any act or omission
of the defendant:
a. cannot be located upon the exercise of due diligence;

b. has been transferred or sold to, or deposited with, a third party;

c. has been placed beyond the jurisdiction of the court;

d. has been substantially diminished in value; or
e. has been commingled with other property which cannot be
divided without difficulty,
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the United States shall be entitled to forfeiture of substitute property under the
provisions of 21 U.S.C. § 853(p), as incorporated by 28 U.S.C. § 2461(c).

A TRUE BILL

Foreperson

ROGER B. HANDBERG
United States Attorney

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Rachelle DesVaux Bedke
Assistant United States Attorney
Chief, Economic Crimes Section

FORM OBD-34
February 24

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No.

UNITED STATES DISTRICT COURT
Middle District of Florida
Tampa Division

THE UNITED STATES OF AMERICA

VS.

ZACHARY RUGEN

INDICTMENT

Violations: 18 U.S.C. § 922(g)(1)

A true bill

Foreperson

Filed in open court this 14th day of February 2024.

Clerk

Bail $

GPO 863 525
